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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ADELA MARAVILLA , OSCAR CORREA,       )
KAMRYN NIEMINSKI, and CIERRA          )
BROWN, on behalf of themselves and all)
other persons similarly situated,     )
known and unknown,                    )                       Case No. 24 C 3366
                                      )
    Plaintiffs,                       )                       Judge
                                      )
    v.                                )
                                      )
OUTFOX HOSPITALITY LLC, FOXTROT       )
VENTURES, INC., and DOMS MARKET, LLC. )
                                      )
    Defendants.                       )

                                          COMPLAINT

       Adela Maravilla , Oscar Correa, Kamryn Nieminski, and Cierra Brown, and all other

similarly situated persons, as and for their complaint against Outfox Hospitality LLC (“Outfox”),

Foxtrot Ventures, LLC (“Foxtrot”), and Doms Market, LLC (“Doms”) (collectively

“Defendants”), allege as follows:

                                    NATURE OF THE ACTION

       1.      Plaintiffs bring this action individually and on behalf of other similarly situated

former employees who worked for Defendants and were terminated without cause, as part of, or

as the foreseeable result of, a mass layoff or plant closing ordered by Defendants on April 23,

2024 and within 30 days of that date and who were not provided 60 days advance written notice

of their terminations, as required by the Worker Adjustment and Retraining Notification Act

(“WARN Act”), 29 U.S.C. § 2101 et seq.




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       2.       Plaintiffs and all similarly situated employees seek to recover up to 60 days wages

and benefits, pursuant to 29 U.S.C. § 2104, from Defendants.


                                  JURISDICTION AND VENUE

       3.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331, 1367

and 29 U.S.C. § 2104(a)(5).


       4.       Venue is proper in this District pursuant to 29 U.S.C. § 2104(a)(5).


                                               THE PARTIES

   Plaintiffs

       5.       Plaintiff Adela Maravilla was employed by Defendants and worked at or reported

to one of Defendants’ facilities located in Chicago, Illinois.

       6.       Plaintiff Maravilla is a resident of State of Illinois.

       7.       Plaintiff Maravilla was terminated without cause.

       8.       Plaintiff Maravilla did not receive at least 60 days’ written notice of her

termination.

       9.       Plaintiff Correa was employed by Defendants and worked at or reported to one of

Defendants’ facilities located in Chicago, Illinois.

       10.      Plaintiff Correa is a resident of State of Illinois.

       11.      Plaintiff Correa was terminated without cause.

       12.      Plaintiff Correa did not receive at least 60 days’ written notice of his termination.

       13.      Plaintiff Niemisnki was employed by Defendants and worked at or reported to

one of Defendants’ facilities located in Chicago, Illinois.

       14.      Plaintiff Niemisnki is a resident of State of Illinois.


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       15.     Plaintiff Niemisnki was terminated without cause.

       16.     Plaintiff Niemisnki did not receive at least 60 days’ written notice of her

termination.

       17.     Plaintiff Brown was employed by Defendants and worked at or reported to one of

Defendants’ facilities located in Washington, D.C. Illinois.

       18.     Plaintiff Brown is a resident of the State of Virginia.

       19.     Plaintiff Brown was terminated without cause.

       20.     Plaintiff Brown did not receive at least 60 days’ written notice of her termination.

       21.     In addition to Plaintiffs, Defendants employed other similarly situated individuals

who worked at, reported to, or received assignments from Defendants.

       22.     On April 23, 2024, other employees who worked at, reported to, or received

assignments from Defendants were terminated from their employment by Defendants, effective

immediately.

       23.     None of Defendants’ employees who were terminated on April 23, 2024, received

advance written notice of their terminations.

       24.     Plaintiffs estimate that over 200 similarly situated employees were terminated

within 30 days of April 23, 2024.

       Defendants

       25.     Upon information and belief and at all relevant times, Defendant Outfox

Hospitality is a Delaware corporation with its main office located in Chicago, Illinois.

       26.     Upon information and belief and at all relevant times, Defendant Foxtrot

Ventures, Inc. is a Delaware corporation with its main office located in Chicago, Illinois.




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        27.     Upon information and belief and at all relevant times, Defendant Doms Market

LLC is a Delaware corporation with its main office located in Chicago, Illinois.

        28.     At all relevant times, Defendants conducted business in this district.

        29.     Although Plaintiffs were nominally employed by Defendant Foxtrot, Defendants

Outfox and Doms were also the Plaintiffs’ and similarly situated individuals’ “Employer” until

they were terminated as part of, or as a result of, a mass layoff and/or plant closing, ordered by

Defendants on or about April 23, 2024.

        30.     Upon information and belief, Defendants constituted a “single employer” of

Plaintiffs and the other Class members in that among other things:

        Common Ownership

        (a)     Upon information and belief, all Defendants are commonly owned.

        Common Directors and Officers

        (b)     Upon information and belief, at all relevant times, the Defendants shared

common officers and Directors.

        Dependency of Operations

        (c)     Upon information and belief, at all relevant times, there was a dependency of

operations between Defendants.

        Unity of Personnel Policies

        (d)     Upon information and belief, at all relevant times there was a unity of personnel

policies emanating from a common source between Defendants.

        (e)     Upon information and belief, all of the Defendants decided to effectuate the mass

layoff and/or plant closing at the facilities without providing a WARN notice.




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        De Facto Control

        (f)     Upon information and belief, all of the Defendants exercised de facto control over

the labor practices governing the Plaintiffs and the Class including the decision to order the mass

layoff and/or plant closing of Defendants’ facilities.

        31.     On or about April 23, 2024, and thereafter, Defendants as a single employer, ordered

the termination of Plaintiffs’ employment together with the termination of all other employees who

worked at or reported to Defendants’ facilities as part of a mass layoff and/or plant closing as defined

by the WARN Act for which they were entitled to receive 60 days advance written notice under

the WARN Act.

                 FEDERAL WARN ACT CLASS ALLEGATIONS, 29 U.S.C. § 2104

        32.     Plaintiffs bring this Claim for Relief for violation of 29 U.S.C. § 2101 et seq., on

behalf of themselves and all other similarly situated former employees, pursuant to 29 U.S.C. §

2104(a)(5) and Fed. R. Civ P. 23(a), who worked or were based at, or reported to and received

assignments from Defendants at their facilities and were terminated without cause on or about

April 23, 2024 and within 30 days of that date, and who are affected employees, within the

meaning of 29 U.S.C. § 2101(a)(5) (the “WARN Class” or “Class Members”).

        33.     The persons in the WARN Class identified above (“Class Members”) are so

numerous that joinder of all members is impracticable. The precise number and identity of such

persons is information within the sole control of Defendants.

        34.     The rates of pay and benefits that were being paid by Defendants to each Class

Member at the time of his/her termination are contained in the books and records of Defendants.

        35.     Common questions of law and fact exist as to Class Members, including, but not

limited to, the following:



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       (a)     whether Class Members were employees of Defendants who worked at, or

reported to and received assignments from, the facilities closed by Defendants on or after April

23, 2024;

       (b)     whether Defendants unlawfully terminated the employment of Class Members

without cause on their part and without giving them 60 days’ advance written notice in violation

of the WARN Act; and

       (c)     whether Defendants unlawfully failed to pay Class members 60 days’ wages and

benefits as required by the WARN Act.

       36.     Plaintiffs’ claims are typical of those of the Class Members. Plaintiffs, like other

Class Members, worked at, reported to, or received assignments from the facilities and were

terminated without cause on or about April 23, 2024, and within 30 days of that date, due to the

mass layoff and/or plant closing ordered by Defendants.

       37.     Plaintiffs will fairly and adequately protect the interests of the Class Members.

       38.     Plaintiffs have retained counsel competent and experienced in complex class

actions, including employment litigation.

       39.     On or about April 23, 2024, and within 30 days of that date, Defendants

terminated the employment of Plaintiffs and Class Members, as part of mass layoff or a plant

closing as defined by 29 U.S.C. § 2101(a)(2), (3), for which the affected employees were entitled

to receive 60 days’ advance written notice under the WARN Act.

       40.     Class certification of these claims is appropriate under Fed. R. Civ. P. 23(b)(3)

because questions of law and fact common to the WARN Class predominate over any questions

affecting only individual members of the WARN Class, and because a class action is superior to

other available methods for the fair and efficient adjudication of this litigation – particularly in



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the context of WARN Act litigation, where individual plaintiffs may lack the financial resources

to vigorously prosecute a lawsuit in federal court against a corporate defendant, and damages

suffered by individual WARN Class members are small compared to the expense and burden of

individual prosecution of this litigation.

       41.       Concentrating all the potential litigation concerning the WARN Act rights of the

members of the Class in this Court will obviate the need for unduly duplicative litigation that

might result in inconsistent judgments, will conserve the judicial resources and the resources of

the parties and is the most efficient means of resolving the WARN Act rights of all the members

of the WARN Class.

       42.       Plaintiffs intend to send notice to all members of the WARN Class to the extent

required by Rule 23.

                  COUNT I - VIOLATION OF THE FEDERAL WARN ACT

       43.       Plaintiffs reallege and incorporate by reference all allegations in all preceding

paragraphs.

       44.       At all relevant times, Defendants employed more than 100 employees who in the

aggregate worked at least 4,000 hours per week, exclusive of hours of overtime, within the

United States.

       45.       At all relevant times, Defendants were an “employer,” as that term is defined in

29 U.S.C. § 2101 (a)(1) and 20 C.F.R. § 639.(3)(a)(1) and continued to operate as a business

until they decided to order the mass layoff or plant closing of their facilities.

       46.       On or about April 23, 2024 and within 30 days of that date, Defendants ordered a

mass layoff and/or plant closing, as that term is defined by 29 U.S.C. § 210l(a)(2)(3).




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       47.     The mass layoff or plant closing at their facilities resulted in “employment

losses,” as that term is defined by 29 U.S.C. §2101(a)(3) for at least fifty of Defendants’ full-

time employees as well as thirty-three percent of Defendants’ workforce.

       48.     Plaintiffs and the Class Members were terminated by Defendants without cause

on their part, as part of or as the reasonably foreseeable consequence of the mass layoff or plant

closing ordered by Defendants.

       49.     Plaintiffs and the Class Members are “affected employees” of Defendants, within

the meaning of 29 U.S.C. § 2101(a)(5).

       50.     Defendants were required by the WARN Act to give Plaintiffs and the Class

Members at least 60 days advance written notice of their terminations.

       51.     Defendants failed to give Plaintiffs and the Class members written notice that

complied with the requirements of the WARN Act.

       52.     Plaintiffs and each of the Class Members are “aggrieved employees” of the

Defendants as that term is defined in 29 U.S.C. § 2104(a)(7).

       53.     Defendants failed to pay Plaintiffs and each of the Class Members their respective

wages, salary, commissions, bonuses, health and life insurance premiums, accrued holiday pay

and accrued vacation for 60 days following their respective terminations, and failed to provide

employee benefits including health insurance, for 60 days from and after the dates of their

respective terminations.

                                     PRAYER FOR RELIEF

   WHEREFORE, the Plaintiffs, on behalf of themselves and all other similarly situated former

employees, pray for the following relief as against Defendants:

       A.      Certification of this action as a class action;



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       B.     Designation of Plaintiffs as the WARN Class Representatives;

       C.     Appointment of the undersigned attorneys as Class Counsel for all Class

Members;

       D.     A judgment against Defendants in favor of Plaintiffs and the other similarly

situated former employees equal to the sum of: their unpaid wages, as determined in accordance

with the WARN Act, 29 U.S.C. § 2104 (a)(1)(A);

       F.     Plaintiffs’ reasonable attorneys’ fees and the costs and disbursements that the

Plaintiffs incurred in prosecuting this action, as authorized by the WARN Act, 29 U.S.C. §

2104(a)(6), NYLL § 860-g (7); and NYLL § 198 (1-d); and

       G,     Such other and further relief as this Court may deem just and proper.

                                        JURY DEMAND

       Plaintiffs request a trial by jury on all Counts pursuant to Rule 38 of the Federal Rules of

Civil Procedure.


                                             Respectfully submitted,

Dated: April 25, 2024                        /s/Douglas M. Werman
                                             One of Plaintiffs’ Attorneys

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